

Matter of Braun (2023 NY Slip Op 00716)





Matter of Braun


2023 NY Slip Op 00716


Decided on January 9, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:January 9, 2023

PM-24-23
[*1]In the Matter of Anna Maria Braun, an Attorney. (Attorney Registration No. 4595344.)

Calendar Date:February 6, 2023

Before:Garry, P.J., Lynch, Pritzker, Fisher and McShan, JJ.

Law Offices of Michael S. Ross, New York City (Michael S. Ross of counsel), for respondent.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Anna Maria Braun was admitted to practice by this Court in 2008 and lists a business address in Melsungen, Germany with the Office of Court Administration. Braun now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Braun's application.
Upon reading Braun's affidavit sworn to December 12, 2022 and filed December 29, 2022 and upon reading the January 24, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Braun is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Lynch, Pritzker, Fisher and McShan, JJ., concur.
ORDERED that Anna Maria Braun's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Anna Maria Braun's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Anna Maria Braun is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Braun is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Anna Maria Braun shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








